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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

  

 

 

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SHARON ACREE, individually, and on Case No.& | ¥-cv- OLO1O-T- 30-5 S$
behalf of all others similarly situated.
CLASS ACTION COMPLAINT
Plaintiff,
DEMAND FOR JURY TRIAL
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EF EDUCATION FIRST, INC., a California soi &
corporation, and GO AHEAD VACATIONS, So
INC., a Massachusetts corporation. mee
Defendants. am 23
CLASS ACTION COMPLAINT

 

Plaintiff Sharon Acree (““Acree™ or “Plaintiff’) brings this Class Action Complaint and

Demand for Jury Trial against Defendants EF Education First, Inc., ("Education First”) and Go
Ahead Vacations, Inc. (“Go Ahead Vacations”) to stop Defendants from violating the Telephone
Consumer Protection Act by making unsolicited. prerecorded calls to consumers without their
consent, including to consumers registered on the National Do Not Call Registry, and to
otherwise obtain injunctive and monetary relief for all persons injured by Defendants’ conduct.
Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to herself and her
own acts and experiences, and, as to all other matters. upon information and belief, including

investigation conducted by her attorneys.

INTRODUCTION

1, Education First is the U.S. affiliate of EF Education First International Ltd., a

global education company founded in Sweden in 1965.!

 

' https://en.wikipedia.org/wiki/EF_Education_First
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2. Education First formed Go Ahead Vacations in 1987 for the sole purpose of

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marketing Education First's educational travel packages in the U.S.*-*_ In that respect.

Education First and Go Ahead Vacations operate jointly as “EF Go Ahead Tours * *’

3. In order to jointly promote their travel packages. Defendants make unsolicited
calls to consumers using a prerecorded voice message without their consent. In Plaintiff's case,
Defendants called her using a prerecorded voice message more than 10 times from phone
number 800-206-9836 despite Plaintiff having registered her phone number on the National Do
Not Call Registry to prevent such calls, and despite Plaintiff's repeated demands that Defendants
stop calling her.

4, Not surprisingly, there are numerous online complaints regarding Defendants’

unsolicited, prerecorded message calls:

e “recording”*

“telemarketing robo call”?
e “vacation ad” !°

e “Nuisance call”!

e “Unsolicited call”!

e “Travel information”"

e “They called my cell phone at least five times today. | finally shut my phone off. It is so
annoying.”""4

“Unwanted and unsolicited call from this number. The companies should be brought to
2015

 

* https://www.businesswire.com/news/home/2003 | 002005423/en/Vacations-A grees-Offer-

Alternative-Trips-Accommodate-FAR WIDEs

* https://www.goaheadtours.com/about/terms

> https://www.goaheadtours.com/about/terms

® https://www.goaheadtours.com/privacy

” https://www.goaheadtours.com/

® https://2000i.net/8002424686.who.called

® https://www.shouldianswer.com/phone-number/ 8002424686
Id.

"id.

12 Id.

13d.

'4 https://www.telfinder.info/8002424686

'5 https://findwhocallsyou.com/8002424686?CallerInfo

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5. In response to these calls. Plaintiff files this lawsuit on her own behalf and on
behalf of Classes of similarly situated consumers, seeking injunctive relief. requiring Defendants
to cease calling consumers using a prerecorded voice message without their consent and
otherwise calling telephone numbers registered on the National Do Not Call Registry (7DNC”),

as well as an award of actual and/or statutory damages and costs.

PARTIES
6. Plaintiff Acree is, and at all times relevant to this Complaint was, a Tampa.
Florida resident.
7. Defendant Education First is a California corporation.
8. Defendant Go Ahead Vacations is a Massachusetts corporation.
9. Both Education First and Go Ahead Vacations are headquartered in Cambridge,

Massachusetts, in the same building: Two Education Circle, Cambridge. MA 02141.

10. Defendants conduct business throughout this District, the State of Massachusetts,
and throughout the United States.

JURISDICTION AND VENUE

11. This Court has federal question subject matter jurisdiction over this action under
28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.
§227 (“TCPA”).

12. This Court has personal jurisdiction over Defendants and venue is proper in this
District under 28 U.S.C. § 1391(b) because Defendants do significant business in this District
and the state of Florida, and because the wrongful conduct giving rise to this case occurred in
this District. Venue is additionally proper because Plaintiff resides in this District and the calls

were directed towards Plaintiff in this District.

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PLAINTIFF’S ALLEGATIONS

Defendants Repeatedly Called Plaintiff Without Her Consent,
Despite Plaintiff Registering Her Phone Number on the DNC

13. On March 31, 2004, Plaintiff registered her phone number on the National Do Not
Call Registry.

14. Starting in May of 2018. Plaintiff began receiving calls again from Defendants
using the name “EF Go Ahead Tours” from phone number 800-206-9836 promoting travel
packages. The calls Plaintiff received were a mix of live and prerecorded calls.

15. Despite Plaintiff making it abundantly clear to Defendants that she is not
interested in their goods and services and repeatedly demanding that they stop calling,
Defendants have continued regularly calling Plaintiff.

16. Plaintiff does not have a relationship with either Defendant, or any of their
affiliated companies. Although in or around 2012 she obtained a quote for one of Defendants’
tours, Plaintiff has never provided either Defendant her prior express wriffen consent to be called
using a prerecorded voice message.

17. The unauthorized telephone calls made by Defendant Education First and
Defendant Go Ahead Vacations, as alleged herein, have harmed Plaintiff in the form of
annoyance, nuisance, and invasion of privacy, and disturbed Acree’s use and enjoyment of her
phone, in addition to the wear and tear on the phones’ hardware (including the phones’ battery)
and the consumption of memory on the phone.

18. Seeking redress for these injuries, Acree. on behalf of herself and Classes of
similarly situated individuals, brings suit under the TCPA, which prohibits unsolicited calls using

a prerecorded voice message and unsolicited calls to phone numbers on the DNC.
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CLASS ALLEGATIONS
Class Treatment is Appropriate for Plaintiff's TCPA Claims
19. Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)
and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks certification of
the following four Classes:

Prerecorded No Consent Class: All persons in the United States who from four
years prior to the filing of this action through the present (1) Defendants jointly (or
an agent acting on behalf of Defendants jointly) called. or Go Ahead Tours (or its
agent) on behalf of Education First called. (2) using a prerecorded message, (3)
without prior express written consent,

Prerecorded Stop Class: All persons in the United States who from four years
prior to the filing of this action through the present (1) Defendants jointly (or an
agent acting on behalf of Defendants jointly) called, or Go Ahead Tours (or its
agent) on behalf of Education First called, (2) using a prerecorded message, (3)
after they informed Defendants that they no longer wished to receive phone calls
from Defendants.

Do Not Call Registry Class: All persons in the United States who from four years
prior to the filing of this action through the present (1) Defendants jointly (or an
agent acting on behalf of Defendants jointly) called more than one time, or Go
Ahead Tours (or its agent) behalf of Education First called more than one time, (2)
within any 12-month period, (3) where their telephone number had been listed on

the National Do Not Call Reyistry for at least thirty days. or after they informed

Defendants that they no longer wished to receive phone calls from Defendants, (4)

for the purpose of selling Defendants’ products and/or services. (5) without prior

express written consent.

20. The following individuals are excluded from the Classes: (1) any Judge or
Magistrate presiding over this action and members of their families: (2) Defendants, their
subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or the
relevant parents have a controlling interest and their current or former employees, officers and
directors; (3) Plaintiff's attorneys: (4) persons who properly execute and file a timely request for

exclusion from the Classes: (5) the legal representatives, successors or assigns of any such

excluded persons; and (6) persons whose claims against Defendants have been fully and finally
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adjudicated and/or released. Plaintiff anticipates the need to amend the Class definitions

following appropriate discovery.

21. | Numerosity: On information and belief, there are hundreds, if not thousands of
members of the Classes such that joinder of all members is impracticable.

22. Commonality and Predominance: There are many questions of law and fact
common to the claims of Plaintiff and the Classes, and those questions predominate over any
questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

(a) whether either Defendant utilized prerecorded calls to Plaintiff and the
members of the Classes;

(b) whether the Defendants systematically made multiple telephone calls to
Plaintiff and consumers whose telephone numbers were registered with the
National Do Not Call Registry;

(c) whether the Defendants made prerecorded telephone calls to Plaintiff and
members of the Classes without first obtaining prior express written consent
to make the calls; and

(d) whether Defendants’ conduct constitutes a violation of the TCPA: and

(e) whether members of the Classes are entitled to treble damages based on the
willfulness of Defendants* conduct.

23. Adequate Representation: Plaintiff will fairly and adequately represent and
protect the interests of the Classes, and has retained counsel competent and experienced in class
actions. Plaintiff has no interests antagonistic to those of the Classes, and the Defendants have no
defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting
this action on behalf of the members of the Classes, and have the financial resources to do so.
Neither Plaintiff nor her counsel has any interest adverse to the Classes.

24. Appropriateness: This class action is also appropriate for certification because

Defendants acted or refused to act on grounds generally applicable to the Classes and as a whole,
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thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of
conduct toward the members of the Classes and making final class-wide injunctive relief
appropriate. Defendants’ business practices apply to and affect the members of the Classes
uniformly, and Plaintiff's challenge of those practices hinges on Defendants’ conduct with
respect to the Classes as wholes, not on facts or law applicable only to Plaintiff. Additionally, the
damages suffered by individual members of the Classes will likely be small relative to the
burden and expense of individual prosecution of the complex litigation necessitated by
Defendants’ actions. Thus, it would be virtually impossible for the members of the Classes to
obtain effective relief from Defendants’ misconduct on an individual basis. A class action
provides the benefits of single adjudication, economies of scale, and comprehensive supervision
by a single court. Economies of time, effort, and expense will be fostered and uniformity of
decisions will be ensured.

FIRST CAUSE OF ACTION

Telephone Consumer Protection Act
(Violations of 47 U.S.C. § 227)
(On Behalf of Plaintiff and the Prerecorded No Consent Class)

25. Plaintiff repeats and realleges paragraphs | through 24 of this Complaint and
incorporates them by reference herein.

26. Defendants and/or their agents made unwanted solicitation telephone calls to
telephone numbers belonging to Plaintiff and the other members of the Prerecorded No Consent
Class using a prerecorded message.

27. These solicitation telephone calls were made ev masse without the consent of the
Plaintiff and the other members of the Prerecorded No Consent Class to receive such solicitation

telephone calls.

28. Defendants did not have Plaintiff's express written consent to call her.
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29, Defendants have, therefore, violated 47 U.S.C. § 227(b)(1). As a result of
Defendants’ conduct, Plaintiff and the other members of the Prerecorded No Consent Class are
each entitled to a minimum of $500 in damages, and a maximum of $1,500 in damages, for each

violation.

SECOND CAUSE OF ACTION
Telephone Consumer Protection Act
(Violations of 47 U.S.C. § 227)
(On Behalf of Plaintiff and the Prerecorded Stop Call Class)

30. _ Plaintiff repeats and realleges paragraphs | through 24 of this Complaint and
incorporates them by reference herein.

31. Defendants and/or their agents made unwanted solicitation telephone calls to
telephone numbers belonging to Plaintiff and the other members of the Prerecorded No Consent
Class using a prerecorded message after they requested that the calls stop.

32. These solicitation telephone calls were made en masse without the consent of the
Plaintiff and the other members of the Prerecorded Stop Call Class to receive such solicitation
telephone calls.

33. | Defendants have. therefore, violated 47 U.S.C. §§ 227(b)(1)(A), (B). As a result
of Defendant’s conduct, Plaintiff and the other members of the Prerecorded Stop Call Class are
each entitled to a minimum of $500 in damages, and a maximum of $1,500 in damages, for each
violation.

THIRD CAUSE OF ACTION
Telephone Consumer Protection Act
(Violation of 47 U.S.C. § 227)
(On Behalf of Plaintiff Acree and the Do Not Call Registry Class)

34. Plaintiff repeats and realleges the paragraphs | through 24 of this Complaint and

incorporates them by reference herein.
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35. The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
who has registered his or her telephone number on the national do-not-call registry of persons
who do not wish to receive telephone solicitations that is maintained by the federal government.”

36.  47C.F.R. § 64.1200(e), provides that §§ 64.1200(c) and (d) “are applicable to any
person or entity making telephone solicitations or telemarketing calls to wireless telephone
numbers.”

37. 47(C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate
any call for telemarketing purposes to a residential telephone subscriber unless such person or
entity has instituted procedures for maintaining a list of persons who request not to receive
telemarketing calls made by or on behalf of that person or entity.”

38. Any “person who has received more than one telephone call within any 12-month
period by or on behalf of the same entity in violation of the regulations prescribed under this
subsection may” may bring a private action based on a violation of said regulations, which were
promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone
solicitations to which they object. 47 U.S.C. § 227(c).

39. Defendants violated 47 C.F.R. §§ 64.1200(c) and (d) by initiating. or causing to
be initiated, telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call
Registry Class members who registered their respective telephone numbers on the National Do
Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government. or who demanded that Defendants stop calling.

 

*6 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Red 14014 (2003) Available at
https://apps.fcec.gov/edocs_public/attachmatch/FCC-03-153A | .pdf
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40. Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call
Registry Class received more than one telephone call in a 12-month period made by or on behalf
of Defendants in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendants’
conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual damages
and. under section 47 U.S.C. § 227(c), are entitled to receive no less than $500 in damages, and
up to $1,500 in damages, for each violation.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Acree. individually and on behalf of the Classes, prays for the

following relief:
a) An order certifying the Classes as defined above: appointing Plaintiff as the
representative of the Classes; and appointing her attorneys as Class Counsel;
b) An award of actual and/or statutory damages:
c) An order declaring that Defendants’ actions, as set out above. violate the TCPA:
d) An injunction requiring Defendants to cease all unsolicited calling activity, and to
otherwise protect the interests of the Classes; and
e) Such further and other relief as the Court deems just and proper.
JURY DEMAND
Plaintiff requests a jury trial.
Respectfully Submitted,
SHARON ACREE, individually and on behalf of

those similarly situated individuals

Dated: August 14, 2018

 

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